




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-02-00109-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MARTIN SAUCEDO,§
	APPEAL FROM THE 241ST

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS







MEMORANDUM OPINION (1)


	Appellant has filed a motion to withdraw his notice of appeal and dismiss this appeal.  The
motion is signed by Appellant and his counsel.  No decision having been delivered by this Court, the
motion is granted, and the appeal is dismissed in accordance with Texas Rule of Appellate Procedure
42.2.


Opinion delivered May 22, 2002.

Panel consisted of Worthen, J., and Griffith, J.






(DO NOT PUBLISH)
1.  See Tex. R. App. P. 47.1.


